Case: 1:23-cv-02468-CEF Doc #:1 Filed: 12/29/23 1o0f18. PagelD#: 1

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OHIO
EASTERN DIVISION

Robert J. Gargasz, Co., LPA. CASE NO.
1670 Cooper Foster Park Road

Lorain, OH 44053

and JUDGE:

Robert J. Gargasz
1670 Cooper Foster Park Road Magistrate:
Lorain, OH 44053

Plaintiffs, COMPLAINT FOR INJUNCTIVE AND
DECLARATORY RELIEF - COMBINED MOTION
FOR A PRELIMINARY INJUNCTION _AND
MEMORANDUM IN SUPPORT OF THE MOTION
FOR A PRELIMINARY INJUNCTION

-VS-

JANET YELLEN, in her official capacity as Secretary of the Treasury
1500 Pennsylvania Avenue, NW

Washington, D.C. 20220

and

RICHARD K. DELMAR, in his official capacity as acting inspector
general of the Department of Treasury

1500 Pennsylvania Avenue, NW

Washington, D.C. 20220

and

U.S. DEPARTMENT OF THE TREASURY
1500 Pennsylvania Avenue, NW
Washington, D.C. 20220

and

INTERNAL REVENUE SERVICE
1111 Constitution Ave., NW
Washington, D,C. 20224

and

FinCEN (The Financial Crimes Enforcement Network of the U.S.
Department of Treasury)

2070 Chain Bridge Road, Suite 200

Vienna, VA 22182-2536

Case: 1:23-cv-02468-CEF Doc #:1 Filed: 12/29/23 2 of 18.

and

MERRICK B. GARLAND, Esq.. in his official capacity as
Attorney General of the United States of America

c/o United States Department of Justice

950 Pennsylvania Avenue, NW

Washington, D.C. 20530

and

Rebecca Chattin Lutzko, Esq., in her official capacity as
United States Attorney for the Northern District of Ohio
Office of the United States Attorney

United States Court House

801 West Superior Avenue, Suite 400

Cleveland, OH 44113-1852

Defendants.

PARTIES

PagelD #: 2

1. Plaintiff Robert J. Gargasz Co. LPA is a Legal Professional Association operating

lawfully and domestically in the State of Ohio and engages in the provision of

legal services to clients, many of them engaged in domestic commerce and whose

rights are being violated the same as plaintiffs by the threatened criminal and civil

penalties being threatened by the unconstitutional laws described in Exhibit”A”.

2. Plaintiff Robert J. Gargasz is a licensed practicing attorney for over 40 years in

good standing with the Ohio Supreme Court who has engaged in the active

practice of law and has studied the Constitution of the United States of America

and the Ohio Constitution and recognizes that the Congress of the United States of

America was not provided the authority by WE THE PEOPLE to collect, analyze,

retain, store, and distribute information as contemplated by the unconstitutional

laws described in Exhibit” A”.

Case: 1:23-cv-02468-CEF Doc #:1 Filed: 12/29/23 3 of 18. PagelD #: 3

. Plaintiffs are distressed and indeed horrified that they along with all American
businessmen, businesswomen, and their respective domestic business entities and
transactions will be interfered with in the business operations, banking, freedom of
contracting, privacy, their Constitutional right to work and independently contract
without having essentially to succumb to the “Mark of the Beast” effectively
demanded of all Americans by the enforcement of the unconstitutional laws
described in Exhibit”A”.

Defendants JANET YELLEN, in her official capacity as Secretary of the Treasury,
RICHARD K. DELMAR, in his official capacity as acting inspector general of the
Department of Treasury, U.S. DEPARTMENT OF THE TREASURY, the
INTERNAL REVENUE SERVICE, FinCEN (The Financial Crimes Enforcement
Network of the U.S. Department of Treasury), MERRICK B. GARLAND, Esq.., in
his official capacity as Attorney General of the United States of America, and
Rebecca Chattin Lutzko, Esq., in her official capacity as the United States
Attorney for the Northern District of Ohio have failed to honor their oaths of office
in their individual and collective failures to prevent the unconstitutional laws
described in Exhibit”A” from being placed into effect and their failures to institute
legal proceedings and actions as be necessary to prevent the implementation of the
abomination of the unconstitutional laws described in Exhibit” A”.

This scope and breath of illegal and countenanced behaviors by defendants is

historic and rarely demonstrated since the American Revolutionary War and

indeed can and should be viewed as actions advanced for a cabal of globalist New

World Order [NWO] traitors to America, its Liberty, and its Freedoms. No excuse

3

Case: 1:23-cv-02468-CEF Doc #:1 Filed: 12/29/23 4 of 18. PagelD #: 4

exists for these defendants to attempt impair, trample upon, and disregard the
rights of plaintiffs and all other American business enterprises and the American

citizen Owners, management, and their Constitutional and statutory Rights.

JURISDICTION AND VENUE
This Court has subject-matter jurisdiction over this matter and is authorized to award the
requested relief because this case arises under the Constitution and laws of the United
State. See: U.S. Const. Art III, § 2; 28 U.S.C. §§1331; 5 U.S.C. §§701-706; 28 U.S.C. §
2201- 2202, and 42 U.S.C. § 1983. as it raises issues arising under the Constitution, Bill
of Rights, statutes and laws, or treaties of the United States. See: 28 U.S.C. §1331.
Venue is proper in this district because defendants include a United States agency and an
officer sued in his official capacity pursuant to 28 U.S.C. §1391(b). Venue further lies in
this district and Court pursuant to 28 U.S.C. §1391(b) because all or a substantial part of
the events or omissions giving rise to the claims concerning plaintiffs occurred in Lorain
County, Ohio within this District and Division. The venue also is proper as all the parties,
including at least one defendant, reside within the boundary of this District.
Defendants, including FinCEN (The Financial Crimes Enforcement Network of the U.S.
Department of Treasury) is an agency of the United States. 12 U.S.C. §5491(a).

Introduction

This is a direct action by Plaintiffs against defendants challenging the legality and
constitutionality of the “Corporate Transparency Act”, 31 USC 5301, Public Law 116-
283, 134 Stat. 4604 through 134 Stat. 4625, the regulations implementing the Final Rule
and their registration mandates as are set forth, per statutes and in Regulations attached

hereto as Exhibit “A”.

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Case: 1:23-cv-02468-CEF Doc #:1 Filed: 12/29/23 5o0f18. PagelD#: 5

The “Corporate Transparency Act”, 31 USC 5301, Public Law 116-283, 134 Stat. 4604
through 134 Stat. 4625, the regulations implementing the Final Rule and their registration
mandates as are set forth within statutes and in Regulations and The Final Rule issued by
defendants are administratively claimed to be applicable to plaintiffs and plaintiffs’
clients; This action seeks a comprehensive declaration of unconstitutionality of the Civil
and Criminal Penalties sought to be imposed by the “Corporate Transparency Act”, 31
USC 5301, Public Law 116-283, 134 Stat. 4604 through 134 Stat. 4625, the regulations
implementing the law, including the Final Rule and their registration mandates as are set
forth within statutes and in Regulations requiring plaintiffs to provide “Beneficial
Ownership Information Reporting Rule” [BOI Reporting Rule], and for injunction
against the enforcement of it against domestic citizens of the United States of America,
including Plaintiffs.

The “Beneficial Ownership Information Reporting Rule” [BOI Reporting Rule] is
unconstitutional as being a violation of the federal government's power under any aspect
of the United States Constitution as sought to be applied against an American Citizen
residing in the United States of America or its territories. Its mandated registration and
required provision for turn-over of Beneficial Ownership Information and required
reporting exceeds all legitimate authority of government and should be declared
unconstitutional and not enforceable against non-aliens, citizens of the United States of
America doing business within the United States domestically who are vested with the
Bill of Rights and the protections of the Constitution of the United States of America.
These Registration Mandates and required provision for Beneficial Ownership

Information sought to be enforced against plaintiffs and their clients are in violation of

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Case: 1:23-cv-02468-CEF Doc #:1 Filed: 12/29/23 6 of 18. PagelD #: 6

the federal Bill of Rights and the authority provided by the United States Constitution to
federal government and therefore unconstitutional, illegal, and unenforceable.

Plaintiffs request that these Registration Mandates and the Final Rule for disclosure of
Beneficial Ownership Information be declared by this Court to be unconstitutional, null
and void, being of no effect, as to plaintiffs and their operations.

When dealing with clients it is plaintiffs desire to rely upon this Court’s declaration that
the Registration Mandates and required provision for Beneficial Ownership Information
as mandated to defendants under threat of prosecution for federal crimes, both civil and
criminal penalties, are void and unconstitutional; and plaintiffs and their clients need not
follow the illegal mandates. The Final Rule issued by defendants need not be adhered to
and that the same are attempted impositions by defendants upon plaintiffs and their
clients with unconstitutional demands and illegal requests.

Defendants by the enforcement of this Final Rule seek to subject Plaintiffs to criminal
and civil penalties without just cause. Defendants seek the criminalization of protected
conduct of Free domestic Citizens living with Liberty in the United States of America.
Defendants have engaged in their unconstitutional and illegal behaviors toward the
plaintiffs to advance illegally mandated registration, improper information gathering, and
required illegal provision for turn-over of Beneficial Ownership Information and to seek
plaintiffs’ incarceration and penalty, both criminal and civil, for noncompliance.

Because the Registration Mandates and required provision for Beneficial Ownership
Information under the Final Rule are in violation of the federal Bill of Rights and the

authority provided by the United States Constitution to federal government, and therefore
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Case: 1:23-cv-02468-CEF Doc #:1 Filed: 12/29/23 7 of 18. PagelD #: 7

unconstitutional, these mandates and Final Rule as promulgated by defendants are invalid
and should be declared unenforceable, vacated, and enjoined as a result.

Plaintiffs seek an order, declaration, and judgment holding the Final Rule
unconstitutional, unlawful, unenforceable, and enjoining, and setting aside the mandates,
the statutes, regulations, and the Final Rule at issue in this case.

In addition to the Constitutional infirmities that are fatal to the Final Rule, portions of the
Rule also violate various requirements of the Paperwork Reduction Act of 1980 (PRA),
44 U.S.C. Section 3502 and 44 U.S.C. Section 3512, and the Administrative Procedure
Act (APA) 5 U.S.C. Sections 551-559.

The PRA requires all agencies of the federal government to submit all “information
collection requests” to the Director of the Office of Management and Budget (OMB) for
review and approval. 44 U.S.C. Section 3507. If the Director approves the “information
collection request” he must ensure that it contains a control number. 44 U.S.C. Section
3504. An agency “shall not conduct or sponsor the collection of information unless” the
information collection request has been submitted to and approved by the Director; 44
U.S.C. Section 3507 (a), and “shall not engage in a collection of information without
obtaining from the Director a control number to be displayed upon the information
collection request”; 44 U.S.C. Section 3507(f). See also United States v. Smith, 866 F.2d
1092 (9"" Cir., 1989) and United States v. Hatch, 919 F.2d 1394 (9" Cir., 1990).

Because the applicable administrative regulations sought to be implemented, the
Registration Mandates and required provision for Beneficial Ownership Information

under the Final Rule, as are set forth in Exhibit “A”, do not comply and are in violation
Case: 1:23-cv-02468-CEF Doc #:1 Filed: 12/29/23 8 of 18. PagelID#: 8

the “PRA”, the defendants are without power or authority to enforce the illegal
“information collection requests”; Defendants MUST act legally and constitutionally.

22. No “OMB Control Numbers” have been issued for the regulations and/or the Forms as
required by law, therefore, Defendants and each of them are prohibited from seeking to
collect information from plaintiffs and the estimated 32.000,00 American businesses
sought to be unconstitutionally menaced by the federal government, its agencies, and
their rogue actions and conduct in violation of The Bill of Rights and federal statutory
prohibitions.

23. “Information collection requests which do not display a current control number or, if not,
indicate why they are not to be considered “bootleg” requests and (under PRA Section
3512) may be ignored by the public.” S. Rep. No. 96-930 at 52, reprinted in 1980 U.S.
Code Cong. & Admin. News 6292: See also: 44 U.S.C. Section 3512 establishing
(penalties may not be imposed for noncompliance with information collection requests
that do not display a current control number.) See also United States v. Smith, 866 F.2d
1092 (9"" Cir., 1989) and United States v. Hatch, 919 F.2d 1394 (9" Cir., 1990).

24. Separately, then, the “Corporate Transparency Act”, 31 USC 5301, Public Law 116-
283, 134 Stat. 4604 through 134 Stat. 4625, The Final Rule and their registration
mandates mandates should be invalidated or stayed.

25. The “Corporate Transparency Act”, 31 USC 5301, Public Law 116-283, 134 Stat.
4604 through 134 Stat. 4625, The Final Rule and their registration mandates are set
forth, per statutes and in part by Regulations attached hereto as Exhibit “A”,

See also: 59498 Federal Register / Vol. 87, No. 189 / Friday, September 30, 2022 / Rules and

Regulations ; DEPARTMENT OF THE TREASURY Financial Crimes Enforcement Network
31 CFR Part 1010
Case: 1:23-cv-02468-CEF Doc #:1 Filed: 12/29/23 9 of 18. PagelD #: 9

RIN 1506-AB49 Beneficial Ownership Information Reporting Requirements
AGENCY: Financial Crimes Enforcement Network (FinCEN), Treasury.
ACTION: Final rule.

SUMMARY: FinCEN is issuing a final rule requiring certain entities to file with FinCEN reports
that identify two

categories of individuals: the beneficial owners of the entity, and individuals who have filed an
application with specified governmental authorities to create the entity or register it to do business.
These regulations implement Section 6403 of the Corporate Transparency Act (CTA), enacted
into law as part of the National Defense Authorization Act for Fiscal Year 2021 (NDAA), and
describe who must file a report, what information must be provided, and when a report is due.
These requirements are intended to help prevent and combat money laundering, terrorist financing,
corruption, tax fraud, and other illicit activity, while minimizing the burden on entities doing
business in the United States.

DATES: Effective date: These rules are effective January |, 2024.

FOR FURTHER INFORMATION CONTACT:
The FinCEN Regulatory Support Section at 1-800-767-2825 or electronically at /re(@fincen.gov.

INTRODUCTION TO CONSTITUTIONAL ARGUMENT

26. Because the Final Rule issued by the federal government and its agencies have

exceeded its power and authority granted to it by the Constitution, and that the
Final Rule has violated and seeks violations of ALL AMERICANS RIGHTS
protected by the Bill of Rights in demanding Registration Mandates and required
provision for disclosure of Beneficial Ownership Information under penalty of
civil and criminal penalties, plaintiffs seek a preliminary injunction preventing the
enforcement of the Registration Mandates and required provision for Beneficial
Ownership Information and declaring the same unconstitutional on their face,
void, and of no effect against domestic American Citizens living within the

United States and its territories.

27. Laws to be determined Unconstitutional as applied to American Citizens

living in the United States of America and its territories:

Corporate Transparency Act [CTA] as applied to plaintiffs.
9
Case: 1:23-cv-02468-CEF Doc #: 1 Filed: 12/29/23 10 of 18. PagelD #: 10

- Beneficial Ownership Information Reporting Rule [BO] Reporting Rule] as
applied to plaintiffs.

28. Illegal Spying on Americans and all United States Citizens Domestic
financial and business activities, government intrusions into private domestic
financial and business information of United States Citizens; improper and
illegal collection of private financial and business information concerning
American Citizens’ Domestic Business Activity, desired privacy, and secrecy.

29. The Department of the Treasury has designated the Financial Crimes Enforcement
Network (FinCEN) as one of the primary agencies to establish, oversee and
implement policies to prevent and detect money laundering.

30. FinCEN uses counter-money laundering laws such as the Bank Secrecy Act
(BSA) to require reporting and record keeping by banks and other financial
institutions. This record keeping preserves a financial trail for investigators to
follow as they track criminals and their assets.

31. The Bank Secrecy Act (BSA) also requires reporting of suspicious transactions at
financial institutions that could trigger investigations.

32. FinCEN has established these policies and regulations to deter and detect money
laundering in partnership with the financial community.

33. FinCEN provides intelligence and analysis for case support and furthers public
understanding of money laundering.

34. FinCEN’s work is concentrated on combining information reported under the

BSA with other government and public information.

10
Case: 1:23-cv-02468-CEF Doc #: 1 Filed: 12/29/23 11 0f18. PagelD #: 11

35. This information is then disclosed to law enforcement in the form of intelligence
reports which are provided quickly to FinCEN’s customers: federal, state, local
and international investigators, and regulators. The intelligence reports help them
build investigations and plan new strategies to combat money laundering.

36. FinCEN seeks to provide tactical assistance to its customers through its FinCEN
Tactical Response Division.

37. Plaintiffs are domestic Citizens of the United States of America and do not
engage in illegal activities overseas such as money laundering, terrorist financing,
corruption, tax fraud, and other illicit activity. Plaintiffs transact only domestic
activity with citizens of the United States of America and their domestic
transactions within the United States of America.

38. Reasons for Declaration of Unconstitutionality:

- Unconstitutional therefore void as there is no constitutional Rule or Law

- Bill of Rights violated. 9'" and 10'" Amendments especially violated as to the
Peoples Rights retained (not being provided to the federal government.)

- Criminalization of matters vested in the Bill of Rights is unconstitutional and
Crimes cannot be created by administrative rulemaking but if valid, must be
enacted by Congress in accordance with required process. are incapable of being
delegated, and any law, regulation, or rule created must not be in violation of the
Constitution of the United States of America and its Bill of Rights.

- Right to Privacy / Right to Secrecy.

- Right to be Free from government intrusion.

- Right to conduct business in private and without disclosure.

- Right not to be penalized for mere Constitutionally protected conduct.

- Overreaching tyranny of Defendants in seeking illegality for [King Tyrant USA].

11
Case: 1:23-cv-02468-CEF Doc #: 1 Filed: 12/29/23 12 of 18. PagelD #: 12

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Violates OMB required control numbers, overreach of regulations and forms not
in conformity with the PRA.

Government incapable of being trusted with private information; We The People
cannot trust the government with our private information.

In Griswold v. State of Connecticut, 381 U.S. 479, 85 S.Ct. 1678, 14 L.Ed.2d 510
(1965); Roe v. Wade, 410 US 113 (1973). the Court said: ... “The foregoing cases
suggest that specific guarantees in the Bill of Rights have penumbras, formed by
emanations from those guarantees that help give them life and substance.” See Poe
v. Ullman, 367 U.S. 497, 516-522, 81 S.Ct. 1752, 6 L.Ed.2d 989 (dissenting
opinion). Various guarantees create zones of privacy. The right of association
contained in the penumbra of the First Amendment is one, as we have seen. The ...
The Fourth Amendment explicitly affirms the 'right of the people to be secure in
their persons, houses, papers. and effects. against unreasonable searches and
seizures.’ The Fifth Amendment in its Self-Incrimination Clause enables the
citizen to create a zone of privacy which government may not force him to
surrender to his detriment. The Ninth Amendment provides: 'The enumeration in
the Constitution, of certain rights, shall not be construed to deny or disparage
others retained by the people.'

The Right to privacy under the Fourth and Fifth Amendments to the United States
Constitution were described in Boyd v. United States, 116 U.S. 616, 630, 6 S.Ct.
524, 532, 29 L.Ed. 746, as protection against all governmental invasions 'of the
sanctity of a man's home and the privacies of life.'"* In Mapp v. Ohio, 367 U.S.

643, 656, 81 S.Ct. 1684 1692, 6 L.Ed.2d 1081, the Supreme Court referred to the

12
Case: 1:23-cv-02468-CEF Doc #: 1 Filed: 12/29/23 13 of 18. PagelD #: 13

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Fourth Amendment as creating a 'right to privacy, no less important than any other
right carefully and particularly reserved to the people.’ See also explanation as
provided in: Beaney, The Constitutional Right to Privacy, 1962 Sup.Ct.Rev.
212; Griswold, The Right to be Let Alone, 55 Nw.U.L.Rev. 216 (1960).

Immediate and Irreparable Harm Caused by the Final Rule: A Final Rule becomes
law when duly prescribed, regardless of when it goes into effect and is actionable
under the APA. 5 U.S.C. §551(4).

As a result, the plaintiffs, all domestic American Citizens and business entities
must begin immediately risk the loss of their secrets. privacy, and to undertake
substantial expense disclosures of private business information for the scheduled
2024 implementation of the Final Rule.

The law mandated and Final Rule is not equal to plaintiffs and American
Businesses and wrongfully criminalizes conduct protected by the Bill of Rights.
Plaintiffs have no adequate remedy at law and must have these mandates and
Final Rule requirements declared unconstitutional and enjoined from enforcement
against them lest their Constitutional Rights be violated and molested by
defendants and the federal government and their agents acting under color of law
in violating plaintiffs’ civil rights and seeking to abuse. terrorize, and threaten
plaintiffs with ruination by government prosecution, jail. fines, and penalties.

As American Citizens Plaintiffs object to this most vulgar unconstitutional attack
upon our law practice and all my domestic American clients. What legitimate
agent of defendant government actor can claim a legitimate and constitutional

reason to tread upon my individual Constitutional Sovereignty?

13
Case: 1:23-cv-02468-CEF Doc #: 1 Filed: 12/29/23 14 of 18. PagelD #: 14

46. Each of these defendants and agents acting to enforce the unconstitutional, illegal,
and ill-conceived regulations and rules, in such a rogue illegal manner must be
told to get off the Plaintiffs’ Ass and confine themselves to the legitimate
parameters permitted by the Constitution. Plaintiffs vehemently protest and
demand to know why no federal attorneys or counsel for these defendants see this
violation of plaintiffs’ rights and object to this tyranny? How is it that the
American Federal Bar rolls over to this submission of illegal demands and
abandons the Bill of Rights?

47. As stated in Texas v. EPA, 829 F.3d 405, 433 (5" Cir. 2016), “a regulation later
held invalid almost always produces the irreparable harm of nonrecoverable
compliance costs.” In this case, the lost private and secret data will never be
capable of retrieval and irreparable harm cannot be undone.

48. Compounding the harm caused by the Final Rule itself is the defendants’ inability
to handle and store the type of sensitive and private data and information it seeks
to collect from plaintiffs and American businesses.

49. The government has had many data breaches involving many reporters who have
been betrayed by government promises of security. See: Jon Hill, CFPB’s
‘Disturbing’ Data Breach Spark Ire, Credibility Doubts. Law 360 (Apr. 26, 2023).
Violation of the Bill of Rights, Constitution and APA 5 U.S.C. §706(2)(A)

INTRODUCTION TO PRA Statutory Prohibition ARGUMENT

50. Plaintiffs adopt by reference the preceding paragraphs of this Complaint as if fully

set forth herein.

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Case: 1:23-cv-02468-CEF Doc #: 1 Filed: 12/29/23 15 of 18. PagelD #: 15

.In addition to the Constitutional infirmities described above that are fatal to the
enforcement of the “CTA”, its regulations, and Final Rule. portions of the Rule also
violate various requirements of the Paperwork Reduction Act of 1980 (PRA), 44 U.S.C.
Section 3502 and 44 U.S.C. Section 3512. and the Administrative Procedure Act (APA) 5
U.S.C. Sections 551-559.

The PRA requires all agencies of the federal government to submit all “information
collection requests” to the Director of the Office of Management and Budget (OMB) for
review and approval. 44 U.S.C. Section 3507. If the Director approves the “information
collection request” he must ensure that it contains a control number. 44 U.S.C. Section
3504. An agency “shall not conduct or sponsor the collection of information unless” the
information collection request has been submitted to and approved by the Director; 44
U.S.C. Section 3507 (a), and “shall not engage in a collection of information without
obtaining from the Director a control number to be displayed upon the information
collection request”: 44 U.S.C. Section 3507(f). See also United States v. Smith, 866 F.2d
1092 (9" Cir., 1989) and United States v. Hatch, 919 F.2d 1394 (9" Cir., 1990).

Because the applicable Regulations, Registration Mandates and required provision for
Beneficial Ownership Information under the Final Rule. as are set forth in Exhibit “A”,
do not comply and are in violation the “PRA”, the defendants are without power or
authority to enforce the illegal “information collection requests”; Defendants MUST act
legally and Constitutionally.

Not acting as required, Defendants and each of them are prohibited from seeking to
collect information from plaintiffs and the estimated 32.000,00 American businesses

sought to be unconstitutionally menaced by the federal government, its agencies, and

15
Case: 1:23-cv-02468-CEF Doc #: 1 Filed: 12/29/23 16 of 18. PagelD #: 16

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their rogue actions and conduct in violation of The Bill of Rights and federal statutory
prohibitions.

“Information collection requests which do not display a current control number or, if not,
indicate why they are not to be considered “bootleg” requests and (under PRA Section
3512) may be ignored by the public.” S. Rep. No. 96-930 at 52, reprinted in 1980 U.S.
Code Cong. & Admin. News 6292; See also: 44 U.S.C. Section 3512 establishing
(penalties may not be imposed for noncompliance with information collection requests
that do not display a current control number.) See also United States v. Smith, 866 F.2d
1092 (9" Cir., 1989) and United States v. Hatch, 919 F.2d 1394 (gh Cir., 1990).
Separately, then, the “Corporate Transparency Act’, 31 USC 5301, Public Law 116-283,
134 Stat. 4604 through 134 Stat. 4625, the Final Rule and their registration mandates
should be invalidated or stayed.

The “Corporate Transparency Act” (CTA). 31 USC 5301. Public Law 116-283, 134 Stat.
4604 through 134 Stat. 4625, the Final Rule and their registration mandates are set forth,
per statutes and in part by Regulations attached hereto as Exhibit “A”,

The CTA, its regulations, and its Final Rule as concerning plaintiffs and all
domestic commercial activity. violate the PRA, applicable federal law, but
especially the U.S. Constitution and the Bill of Rights.

Because the Final Rule was promulgated in violation of the U.S. Constitution and
because it harms plaintiffs and American domestic citizens and business owners,

it is invalid and must be set aside. Community Financial, 51 F.4"" at 643.

Additionally, under the APA, agency action must be vacated if it is “not in

accordance with law.” 5 U.S.C. §706(2)(A).

16
Case: 1:23-cv-02468-CEF Doc #: 1 Filed: 12/29/23 17 of 18. PagelD #: 17

61. Per Community Financial, the Final Rule ~ as a final action taken by defendants
on the Final Rule is “not in accordance with the law” and must be “held unlawful
and set aside” for that reason, too. Community Financial, 51 F.4" at 643.

APA - Abuse of Discretion: Promulgating a Final Rule Beyond the
Constitutional Statutory Scope 5 U.S.C. §706(2)(C)

62. Plaintiffs adopt by reference the preceding paragraphs of this Complaint as if fully
set forth herein.

63. The APA provides that agency actions are to be set aside when found to be an
abuse of agency discretion. 5 U.S.C. §706.

64. Defendants acted in excess of their authority and have no constitutional statutory
right to establish Regulations or a Final Rule without any Constitutional basis in
the administrative record to do so.

65. Because the applicable Regulations and the Final Rule violates the Constitution
and the APA, the Regulations and the Final Rule should be invalidated, declared
void, and be set aside.

WHEREFORE, Plaintiffs move the Court for:

1. For a declaration that the applicable regulations, the Final Rule Registration
Mandates, and required provision for disclosure of Beneficial Ownership
Information are unconstitutional and cannot be implemented or enforced
against resident Citizens of the United States of America or plaintiffs engaged
in domestic activity:

2. For the issuance of both a preliminary and permanent injunction against

Defendants, and each of them, prohibiting them from enforcing the

17
Case: 1:23-cv-02468-CEF Doc #: 1 Filed: 12/29/23 18 of 18. PagelD #: 18

unconstitutional regulations, Final Rule Registration Mandates and required
provision for disclosure of Beneficial Ownership Information:
3. Foran Order awarding Plaintiffs attorney's fees and cost of suit herein; and

4. For such other and further relief as the Court deems proper.

(s) Robert J. un I tf NI

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Attorney for r Plaintiffs

18
